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                             UNITED STATES DISTRICT COURT
                                       FOR THE
                                 DISTRICT OF VERMONT


UNITED STATES OF AMERICA,                            )
     Plaintiff,                                      )
                                                     )
       v.                                            )       Docket No. 5:20-CR-47
                                                     )
RONALD ROY,                                          )
    Defendant.                                       )

  GOVERNMENT’S RESPONSE IN OPPOSITION TO MOTION FOR RELEASE, TO
   CANCEL HEARING ON COMPETENCY AND TO SET MATTER FOR A FINAL
                      REVOCATION HEARING



       The government files this response in opposition to defendant Ronald Roy’s July 22,

2022 motion for release from custody, to cancel hearing on competency and to set matter for a

final revocation hearing. While the process of obtaining a competency evaluation for Roy has

been lengthy, it is ongoing. Because the Probation Office has worked consistently toward

collecting records necessary for the completion of the evaluation, and because the results of such

an evaluation will help both resolve the pending supervised release violations and assist the

Court in shaping an appropriate release plan, the Court should deny Roy’s motion.

                                   The Competency Evaluation

       As noted in its April 20, 2022 order for competency evaluation, Roy’s behavior during

his status conference on April 9, 2022, led the Court to order a competency evaluation for him.

Doc. 29. The Court ordered the evaluation should be conducted locally, “as soon as practicable.”

Doc. 29 at 1. In response to the order, the Probation Office has worked with Mr. Roy’s guardian

to obtain releases for medical records pertaining to his prior evaluations and treatment. Such

records will be provided to the evaluator to assist in the preparation of the requested competency
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evaluation. While the Probation Office has worked diligently to collect these records, because

the obtaining of releases and documents has required many mailings, the process has been slow.

Probation, however, hopes to receive the final batch of records soon. While the process has not

been as quick as the defendant—or the Court—may have hoped, it is proceeding at due pace.

The Court should not revoke or revise its order for evaluation at this time.

                                      The Motion for Release

       Roy also asks the Court to release him immediately to the custody of a friend or his

“brother.” According to the Probation Office, however, and as acknowledged in Roy’s filing,

neither of these locations is approved for Roy’s residence. While Roy expresses a willingness to

go to a homeless shelter, given his age and medical conditions, release to a shelter does not

appear to be an appropriate plan. The Court should deny the motion for immediate release for

lack of an appropriate housing option.

                                   The Final Revocation Hearing

       Roy finally requests that a final revocation hearing be set in this matter. Because the

Court should wait for the benefit of the competency evaluation before proceeding further in the

case, it should also deny this request.




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          For the reasons stated above, the Court should deny Ronald Roy’s July 22, 2022 motion

for release from custody, to cancel hearing on competency and to set matter for a final revocation

hearing



          Dated at Burlington, in the District of Vermont, August 5, 2022.

                                                              Respectfully submitted,

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                                                              United States Attorney


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